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 9
     Reservation

10                   IN THE UNITED STATES DISTRICT COURT
11                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12    WILLIAMS & COCHRANE, LLP,              REDACTED
                                             Case No.: 17-cv-01436-GPC-DEB
13                      Plaintiff,
                                             DEFENDANT AND
14    v.                                     COUNTERCLAIM-PLAINTIFF
15                                           THE QUECHAN TRIBE’S
      ROBERT ROSETTE; ROSETTE &              MEMORANDUM OF POINTS
16    ASSOCIATES, PC; ROSETTE, LLP;          AND AUTHORITIES IN
      QUECHAN TRIBE OF THE FORT              SUPPORT OF MOTION FOR
17    YUMA INDIAN RESERVATION, a             SUMMARY JUDGMENT
      federally-recognized Indian tribe; and
18
      DOES 1 THROUGH 100,                    [Notice of Motion; Separate
19                                           Statement of Undisputed Material
                        Defendants.          Facts; Vittor Declaration Filed
20                                           Concurrently]
21
      QUECHAN TRIBE OF THE FORT
22    YUMA INDIAN RESERVATION, a                  Date: December 11, 2020, 1:30 p.m.
      federally-recognized Indian tribe,          Judge: Hon. Gonzalo P. Curiel
23                                                Courtroom: 2D
                       Counterclaim-Plaintiff,    Trial Date: Not Set
24

25    v.
26    WILLIAMS & COCHRANE, LLP,
27
                       Counterclaim-Defendant.
28
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                                                                 -v-
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 1   I.    INTRODUCTION
 2         In 2016, the Quechan Tribe of the Fort Yuma Indian Reservation (“Quechan” or
 3   the “Tribe”) retained Williams & Cochrane, LLP (“W&C”) to negotiate a new gaming
 4   compact with the State of California. After more than eight months and $400,000 in
 5   attorneys’ fees, W&C had not completed the negotiations. The Tribe was dissatisfied
 6   with W&C’s work and terminated W&C under the explicit and discretionary right of
 7   termination contained in Section 11 of its Attorney-Client Fee Agreement (“Fee
 8   Agreement”) with W&C.
 9         In response, W&C filed this lawsuit, alleging a slew of outlandish and baseless
10   claims, most of which have been dismissed by the Court. What remains are W&C’s
11   claims that (1) the Tribe breached the implied covenant of good faith and fair dealing
12   by not paying W&C a contingency fee in addition to the $400,000 the Tribe had already
13   paid W&C; and, alternatively, (2) the Tribe breached Section 11 of the Fee Agreement
14   by terminating it without paying an additional “reasonable fee” in lieu of the
15   contingency fee. The Tribe counterclaimed for, inter alia, breach of fiduciary duty.
16         During discovery, W&C did not even try to dispute the Tribe’s straightforward
17   explanation—advanced in declarations filed over two years ago—that the Tribe
18   terminated W&C because it was dissatisfied with its work. See ECF Nos. 29-2, 29-3.
19   W&C did not take any depositions of Tribe witnesses. It obfuscated in discovery
20   responses. And in the depositions of W&C’s only two principals, they both refused to
21   answer questions seeking facts that could support their claims. Accordingly, the
22   undisputed—and now indisputable—facts definitively show that W&C’s claims are
23   meritless. The Tribe is entitled to summary judgment—not just on W&C’s claims, but
24   on the Tribe’s breach of fiduciary duty counterclaim against W&C as well.
25         W&C’s implied covenant claim fails for four reasons: (1) under well-settled
26   California law, the implied covenant cannot be applied by W&C to limit the Tribe’s
27   discretionary power explicitly granted to it in Section 11 of the Fee Agreement; (2) the
28   Tribe’s termination under Section 11 did not deprive W&C of a contract right to which
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 1   it was entitled, because the conditions entitling W&C to the contingency fee had not
 2   yet occurred; (3) the Tribe’s termination was not in bad faith; and (4) the Fee
 3   Agreement’s definition of the contingency fee results in no damages.
 4         W&C’s breach of contract claim under Section 11 fails because W&C has
 5   already been more-than-fairly compensated, and there is no evidence to support an
 6   additional “reasonable fee” pursuant to the relevant factors listed in Section 11. W&C,
 7   for example, did not even keep time records to substantiate the amount of its work.
 8         The Tribe is also entitled to summary judgment on its breach of fiduciary duty
 9   counterclaim because the undisputed facts show that W&C misled the Tribe regarding
10   the applicability and calculation of the contingency fee while representing the Tribe.
11   II.   STATEMENT OF FACTS
12            A. The 1999 Compact and the 2006 Amendment
13         Quechan first entered into a class III gaming compact with the State of California
14   (the “State”) in 1999. See Separate Statement of Undisputed Material Facts (“SUF”)
15   ¶ 1; Ex. 1 (the “1999 Compact”).1 The 1999 Compact allowed the Tribe to operate
16   casinos on its reservation in exchange for certain financial obligations, and was
17   substantively similar to approximately 60 other tribal gaming compacts entered into by
18   California around the same time.
19         The 1999 Compact was effective until 2006, when Quechan amended its
20   compact with the State. See SUF ¶ 2; Ex. 2 (the “2006 Amendment”). The 2006
21   Amendment increased the number of gaming devices the Tribe could operate, in
22   exchange for increased payment obligations to the State. SUF ¶ 3. Of note, it replaced
23   a prior payment mechanism related to defraying State’s regulatory costs—the “Special
24   Distribution Fund” (“SDF”)—with a new formula, which resulted in increased
25   payments to the State. Ex. 2 § 4.3.3. The 2006 Amendment remained in effect until
26   2017, when it was replaced by a new compact. See Ex. 32 (“2017 Compact”).
27
     1
      All references to exhibits refer to exhibits to the concurrently-filed Declaration of
28   Joshua A. Vittor, unless otherwise noted.
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 1            B. The Pauma Litigation
 2         In the years after the execution of the 1999 compacts by different California
 3   tribes, disputes arose between the tribes and the State over how to interpret the
 4   compacts.2 As relevant here, in 2015, the Ninth Circuit ruled in favor of the Pauma
 5   Band of Luiseño Mission Indians (“Pauma”), resolving a longstanding litigation
 6   between that tribe and the State regarding a 2004 amendment to Pauma’s 1999 gaming
 7   compact. See Pauma Band of Luiseno Mission Indians v. California, 813 F.3d 1155
 8   (9th Cir. 2015). Pauma was awarded approximately $36 million, which was the
 9   difference between the revenue sharing payments Pauma made to the State under its
10   2004 amendment and the revenue sharing payments it would have made under the 1999
11   compact, had it not entered into the 2004 amendment. See id. at 1168-69. W&C
12   represented Pauma at the time of the Ninth Circuit’s decision. Id. at 1159.
13            C. The W&C Fee Agreement
14         In 2016, Quechan sought to negotiate a new compact with the State. The Tribe
15   hired W&C, and entered into the Fee Agreement in September 2016. See SUF ¶ 4; Ex.
16   4. The Fee Agreement contained three different payment provisions: a monthly fee
17   (Section 4), a contingency fee (Section 5), and a reasonable fee that W&C could earn
18   as an alternative to the contingency fee in the event the Tribe terminated W&C before
19   W&C was entitled to a contingency fee (Section 11). See generally Ex. 4.
20         Section 4 called for a monthly flat fee of $50,000. Id. § 4; SUF ¶ 5. It is
21   undisputed that, during the course of W&C’s representation of the Tribe, the Tribe paid
22   W&C $400,000 in legal fees pursuant to Section 4. See SUF ¶ 6.
23         Section 5 outlined a contingency fee that would be triggered “in the event [the
24   Tribe] receives a monetary award or other sum resulting from the representation . . . .”
25

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     2
       See generally In re Indian Gaming Related Cases, 331 F.3d 1094 (9th Cir. 2003);
27   Cachil Dehe Band of Wintun Indians of Colusa Indian Cmty. v. California, 618 F.3d
     1066 (9th Cir. 2010); Rincon Band of Luiseno Mission Indians of Rincon Reservation
28   v. Schwarzenegger, 602 F.3d 1019 (9th Cir. 2010).
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 1   Ex. 4 § 5. If W&C’s representation of the Tribe was “resolved via negotiation” of a
 2   new compact, the contingency fee was to be “calculated by totaling the amounts [the
 3   Tribe] receives—both monetary and/or as a credit, offset, or other reduction in future
 4   compact payments—for the excess payments it made under [the 2006 Amendment].”
 5   Id. (emphasis added); see also SUF ¶ 8. Thus, the contingency fee was to be based on
 6   a portion of the compensation received by the Tribe from the State for payments made
 7   by the Tribe under the 2006 Amendment that were determined to be in “excess” of
 8   what it should have been paying. As acknowledged by Cheryl Williams—one of
 9   W&C’s two principals—in an email days before the Fee Agreement was executed,
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13            . Ex. 3 at WC5424; SUF ¶ 9.
14         Section 11 explicitly granted the Tribe the discretion to terminate W&C “at any
15   time,” but provided W&C with an opportunity to obtain an additional “reasonable fee
16   for the legal services provided” in the event the Tribe terminated W&C before the Tribe
17   was “entitled” to a “net recovery,” as defined in Section 5. See Ex. 4 § 11. This
18   reasonable fee was to be “in lieu of the contingency fee,” and it would be calculated
19   pursuant to an evaluation of factors listed in Section 11 of the Fee Agreement—a
20   methodology that was separate and distinct from the computation of the contingency
21   fee under Section 5. See id.; see also SUF ¶¶ 11, 45.
22            D. W&C’s Representation of the Tribe
23         W&C commenced compact negotiations with the State on the Tribe’s behalf in
24   October 2016. It sent a letter to then-Governor of California Jerry Brown, purporting
25   to accomplish two objectives: (1) to trigger the existing compact’s “dispute resolution
26   process contained within Section 9.1” of the existing compact, through which the Tribe
27   would contest revenue sharing payments under that agreement, and (2) “to commence
28   formal compact renegotiations pursuant to Section 12” of the existing compact, in order
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 1   to replace that compact with a new one. SUF ¶ 12; Ex. 5 at DOJ00384. On October
 2   17, 2016, Joginder Dhillon, Governor Brown’s Senior Advisor for Tribal Negotiations
 3   at the time, responded to W&C’s letter, agreeing to enter into negotiations for a new
 4   compact with the Tribe. See Ex. 6 at DOJ00391. Mr. Dhillon took the position that
 5   negotiations for a new compact and dispute resolution regarding the existing compact
 6   “are two separate processes.” Id.; see also SUF ¶ 13.
 7         After an initial negotiation session between the parties on November 9, 2016,
 8   the State sent a draft compact to W&C on December 7, 2016. See Ex. 10 (“December
 9   2016 Draft”); SUF ¶ 15. The December 2016 Draft included a significant reduction in
10   SDF payments from the Tribe to the State, based not on the Tribe’s net win, as it had
11   been under the 2006 Amendment, but rather on a pro rata share of the State’s regulatory
12   costs. See December 2016 Draft, Ex. 10 § 4.3. Mr. Dhillon estimated the new payment
13   structure would reduce the Tribe’s annual compact payments by approximately $4
14   million. See Ex. 12 at DOJ01204; SUF ¶ 17. W&C told the Tribe the State’s offer
15   was “as good as it can get from a financial perspective.” See Ex. 11 at QUECHAN-
16   WC-00006184.
17         The draft’s proposed pro rata payment structure was consistent with terms
18   provided by the State to other tribes around the same time. See SUF ¶¶ 18, 20. Thus,
19   the State was offering a new SDF payment provision to Quechan that was similar to
20   terms offered to other tribes, and was not specifically tied to any excess payments made
21   by Quechan under prior compacts. See id. ¶¶ 20-21. Indeed, the State’s December
22   2016 Draft did not mention any excess payments made under the 2006 Amendment.
23   See generally Ex. 10; see also SUF ¶ 21.
24         W&C did not send the State written revisions to the State’s December 2016 Draft
25   until April 13, 2017. See SUF ¶ 25; Exs. 16-17. After sending one more redline to the
26   State in May, SUF ¶ 27, W&C sent a third redlined draft to the State on June 21, 2017
27   that included, among other things, a new provision defining revenue sharing payment
28   obligations to non-gaming Indian tribes, which neither the State nor the Tribe had seen.
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 1   See SUF ¶¶ 30-31; Ex. 27 § 5.2. Mr. Dhillon and Sara Drake, a senior California
 2   Department of Justice attorney responsible for advising the Governor on compact
 3   negotiations, testified that                                            . See Dhillon
 4   Depo. Tr. (Ex. 37) 120:7-24; 133:5-10; Drake Depo. Tr. (Ex. 38) 60:24-61:1. W&C
 5   had not even sent a copy of the June 21 draft compact to the Tribe before sending it to
 6   the State because, as Ms. Williams admitted to Ms. Drake at the time in an email, W&C
 7   was not sure the State would agree to it. See Ex. 31 at DOJ01857.
 8             E. The Tribe’s Termination of W&C
 9         During W&C’s representation of the Tribe, the Tribe became frustrated with
10   W&C’s lack of progress and apparent difficulty concluding the negotiations. See SUF
11   ¶ 33. The Tribe was also concerned with its obligation to pay W&C’s $50,000 monthly
12   fee, without any incentive for W&C to work quickly. See, e.g., Ex. 14 at QUECHAN-
13   WC-00004192. Eventually, the Tribal Council concluded that W&C “has not provided
14   services adequate of the level [of] compensation,” and began looking for new counsel.
15   Ex. 19 at QUECHAN-WC-00006982.
16         On June 27, 2017, then-Quechan President Keeny Escalanti sent a letter to
17   W&C,
18              . See SUF ¶ 34; Ex. 30.
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21                           . See Ex. 30 at WC2949-50. In total, after more than eight
22   months, W&C had attended three negotiation sessions with State negotiators, had
23   provided three sets of revisions to the State, and was paid $400,000 in fees. See id.;
24   see also SUF ¶¶ 6, 14, 22, 25-27, 29-30.
25             F. The 2017 Compact
26         The Tribe replaced W&C with Rosette, LLP (“Rosette”). See SUF ¶ 35. Rosette
27   completed the compact negotiations, and the Tribe signed a new compact with the State
28   in August 2017. See Ex. 32 (“2017 Compact”); SUF ¶ 36. It is undisputed that there
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 1   are substantive differences between the executed 2017 Compact and the last draft sent
 2   by W&C to the State on June 21, 2017 (see SUF ¶ 37)—a draft that the Tribe never
 3   even saw prior to W&C’s termination. See SUF ¶ 31. For example, the 2017 Compact
 4   has a completely different revenue sharing structure for payments to non-gaming tribes
 5   compared to W&C’s June 21 draft. Compare Ex. 27 § 5.2 with Ex. 32 §§ 5.2, 5.3.
 6   III.   PROCEDURAL HISTORY
 7          W&C filed this action in July 2017. ECF No. 1. After prior motion practice,
 8   there remain only two claims by W&C against the Tribe: a breach of contract claim,
 9   and an implied covenant of good faith and fair dealing claim. See Fourth Amended
10   Complaint (“FAC”), ECF No. 220 ¶¶ 205-217; see also ECF No. 313 at 4.
11          In its order granting in part the Tribe’s motion to dismiss the (first) Amended
12   Complaint, the Court specifically addressed the limitations of and distinction between
13   these two claims. See ECF No. 89 (the “June 2018 Order”). Because the Tribe was
14   not entitled to any monetary recovery from the State at the time it terminated W&C,
15   W&C was not entitled to the contingency fee when it was terminated, and the non-
16   payment of the contingency fee under Section 5 could not, as a matter of law, constitute
17   a breach of contract. See id. at 15-16. W&C’s breach of contract claim was therefore
18   dismissed to the extent it was premised on the non-payment of a contingency fee. Id.
19   Consequently, the breach of contract claim is based on the Tribe’s alleged failure to
20   pay W&C an additional “reasonable fee” under Section 11.
21          The Tribe has counterclaims against W&C for: (1) breach of fiduciary duty; (2)
22   breach of the implied covenant of good faith and fair dealing; (3) negligence; and (4)
23   breach of contract. See Counterclaims, ECF No. 94 ¶¶ 56-90; ECF No. 313 at 4.
24   IV.    LEGAL STANDARDS
25          Summary judgment “shall” be granted if the moving party shows, based on the
26   materials in the record, including depositions, documents, and admissions, “that there
27   is no genuine dispute as to any material fact and the movant is entitled to judgment as
28   a matter of law.” Fed. R. Civ. P. 56(a), (c)(1)(A); see also Matsushita Elec. Indus. Co.
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 1   v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). A fact is only material if it affects
 2   the outcome of the claims on which summary judgment is sought. See Anderson v.
 3   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
 4   V.    W&C’S IMPLIED COVENANT OF GOOD FAITH AND FAIR
 5         DEALING CLAIM FAILS AS A MATTER OF LAW
 6         To prove its claim for a breach of the implied covenant of good faith and fair
 7   dealing, W&C must establish the following elements: “(1) the existence of a contract;
 8   (2) [that W&C] did all, or substantially all of the significant things the contract
 9   required; (3) the conditions required for the defendant’s performance had occurred; (4)
10   the defendant unfairly interfered with the plaintiff’s right to receive the benefits of the
11   contract; and (5) the plaintiff was harmed by the defendant’s conduct.” Doe v. Epic
12   Games, Inc., 435 F. Supp. 3d 1024, 1048 (N.D. Cal. 2020) (citations omitted).
13         W&C cannot establish these required elements for four reasons, each of which
14   is independently sufficient to grant summary judgment on the implied covenant claim
15   in favor of the Tribe. First, applying the implied covenant to restrict the Tribe’s right
16   to terminate W&C impinges on a discretionary power expressly granted to the Tribe in
17   the Fee Agreement, in contravention of clearly established California law. Second, the
18   conditions required to trigger the contingency fee—i.e., the Tribe’s realization of
19   monetary benefits from a final, operative gaming compact—had not occurred at the
20   time of W&C’s termination.        Third, the undisputed facts show that the Tribe’s
21   termination of W&C was reasonable, and not done in bad faith. And fourth, W&C
22   cannot prove entitlement to any damages under Section 5 of the Fee Agreement.
23         A.     The Implied Covenant May Not Be Applied to Restrict a
24                Discretionary Power Expressly Granted to the Tribe
25         “The covenant of good faith and fair dealing, implied by law in every contract,
26   exists merely to prevent one contracting party from unfairly frustrating the other
27   party’s right to receive the benefits of the agreement actually made.” Guz v. Bechtel
28   Nat’l, Inc., 24 Cal. 4th 317, 349 (2000) (citations omitted). And while it exists to
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 1   ensure that “no party to the contract will do anything that would deprive another party
 2   of the benefits of the contract,” Digerati Holdings, LLC v. Young Money Ent., LLC,
 3   194 Cal. App. 4th 873, 885 (2011) (citations omitted), “there can be no implied
 4   covenant where the subject is completely covered by the contract.” Lippman v. Sears,
 5   Roebuck & Co., 44 Cal. 2d 136, 142 (1955) (emphasis added); see also City of Glendale
 6   v. Superior Court, 18 Cal. App. 4th 1768, 1778 (1993). Thus, “the scope of conduct
 7   prohibited by the covenant . . . is circumscribed by the purposes and express terms of
 8   the contract.” Carma Developers (Cal.), Inc. v. Marathon Dev. Cal., Inc., 2 Cal. 4th
 9   342, 371 (1992) (citations omitted). And here, Section 11 of the Fee Agreement
10   precludes W&C’s implied covenant contingency-fee theory.
11         W&C contends it is entitled to a contingency fee under Section 5 of the Fee
12   Agreement because the Tribe’s termination of the Fee Agreement was an improper
13   effort to avoid the obligation to pay W&C a contingency fee. But Section 11 gives the
14   Tribe the right to “discharge [W&C] at any time.” SUF ¶ 10 (emphasis added). It then
15   provides that W&C may be entitled to a “reasonable” fee “in lieu” of a contingency fee
16   in the exact circumstances that occurred here: if W&C was terminated before it was
17   entitled to a contingency fee under Section 5 of the Fee Agreement. See SUF ¶ 11; see
18   also June 2018 Order, ECF No. 89 at 15 (holding that W&C was not entitled to a
19   contingency fee under the terms of Section 5 of the Fee Agreement); infra V.B.
20         Because Section 11 of the Fee Agreement provides for the possibility of an
21   alternative reasonable fee “in lieu” of a contingency fee under Section 5, the Fee
22   Agreement itself precludes W&C’s theory that the implied covenant entitles it to a
23   contingency fee.    To allow W&C’s implied covenant theory to proceed would
24   retroactively change the express terms of the Fee Agreement to restrict the Tribe’s
25   discretionary—and explicit—rights under the Fee Agreement. That is not allowed
26   under California law.
27         Carma is instructive. See 2 Cal. 4th at 371-74. There, a landlord’s absolute
28   right to terminate a lease and negotiate directly with a tenant’s prospective sublessor
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 1   was upheld, despite the tenant’s claim that the landlord had exercised that right in bad
 2   faith. The California Supreme Court held that “[w]e are aware of no reported case in
 3   which a court has held the covenant of good faith may be read to prohibit a party from
 4   doing that which is expressly permitted by an agreement.” Id. at 374.
 5         Consistent with Carma, the Court of Appeal subsequently held that the implied
 6   covenant of good faith and fair dealing may only be applied to restrict a party’s use of
 7   a discretionary power explicitly provided by the contract where the application of the
 8   covenant was necessary to save the contract from being illusory:
 9         The conclusion to be drawn is that courts are not at liberty to imply a
           covenant directly at odds with a contract’s express grant of discretionary
10
           power except in those relatively rare instances when reading the provision
11         literally would, contrary to the parties’ clear intention, result in an
           unenforceable, illusory agreement. In all other situations where the
12
           contract is unambiguous, the express language is to govern, and “no
13         obligation can be implied . . . which would result in the obliteration of a
           right expressly given under a written contract.
14

15   Third Story Music, Inc. v. Waits, 41 Cal. App. 4th 798, 808 (1995) (quoting Gerdlund
16   v. Elec. Dispensers Int’l, 190 Cal. App. 3d 263, 277-78 (1987) (holding that the implied
17   covenant did not impose a “for cause” requirement on a termination provision that
18   permitted an employer to terminate an employee “at any time and for any reason”)).
19         This narrow exception does not apply here. “[R]egardless of how [the] power
20   was exercised,” the Fee Agreement “would have been supported by adequate
21   consideration.” Id. Specifically, the Tribe provided ample consideration for the Fee
22   Agreement in the form of its $50,000 monthly payments to W&C. See SUF ¶¶ 5, 6.
23         The clear conclusion to be drawn from long-established California law is simple:
24   where a defendant was “given the right to do what [it] did by the express provisions of
25   the contract there can be no breach” of the implied covenant. Carma, 2 Cal. 4th at 374;
26   see also Third Story, 41 Cal. App. 4th at 808; Gerdlund, 190 Cal. App. 3d at 277-78.
27   Just so here. As the Tribe has maintained ever since it terminated W&C, Section 11 of
28   the Fee Agreement expressly applies. See SUF ¶ 34. As a result, there can be no

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 1   breach of the implied covenant based on Section 5, and the Court should grant
 2   summary judgment on the claim.
 3         B.     The Conditions Required for the Contingency Fee Had Not Occurred
 4                at the Time W&C Was Terminated
 5         Even if the implied covenant could be applied to limit the Tribe’s termination
 6   right under Section 11—which, as noted above, it cannot—under California law, there
 7   can be no breach of the implied covenant of good faith and fair dealing absent a
 8   showing that “benefits due under the [contract]” were withheld. Love v. Fire Ins.
 9   Exch., 221 Cal. App. 3d 1136, 1151 (1990); see also Keshish v. Allstate Ins. Co., 959
10   F. Supp. 2d 1226, 1233 (C.D. Cal. 2013) (“[A] necessary prerequisite to [an implied
11   covenant claim] is a showing that benefits due under the [contract] were withheld
12   unreasonably or without proper cause.”) (emphasis added). The implied covenant is
13   only violated in a professional services contract if such termination “was a mere pretext
14   to cheat the worker out of another contract benefit to which the employee was clearly
15   entitled, such as compensation already earned.” Agosta v. Astor, 120 Cal. App. 4th
16   596, 608 (2004) (emphasis added) (quoting Guz, 24 Cal. 4th at 353 n.18).
17         W&C’s implied-covenant claim fails because no “benefits” were “due” or
18   “already earned” to W&C under Section 5 of the Fee Agreement. As already held by
19   this Court, the conditions precedent to trigger the Tribe’s obligation to pay the
20   contingency fee had not yet been met. See June 2018 Order, ECF No. 89 at 15 (holding
21   that W&C was not entitled to a contingency fee because “Quechan was never
22   ‘furnished’ with any ‘grounds’ for seeking or claiming the benefits that California had
23   offered up to the moment at which Quechan discharged W&C.”).
24         The 2017 Compact had not been signed by the Governor when the Tribe
25   terminated W&C in June, and was not signed until late August. Indeed, the State’s two
26   principal negotiators both testified that
27                                                   . See Dhillon Depo. Tr. (Ex. 37) at 120:7-
28   24; Drake Depo. Tr. (Ex. 38) at 60:24-61:1. W&C’s principals likewise conceded at
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 1   deposition that                                     . See Cochrane Depo. Tr. (Ex. 39)
 2   at 336:24-337:11
 3                                                                     ; Williams Depo. Tr.
 4   (Ex. 40) at 326:11-14
 5                                                            . And it is undisputed that the
 6   Tribe had not even seen the June 21 W&C draft when W&C was terminated, because
 7   W&C was not sure the State would sign it. See SUF ¶ 31; Ex. 31. Put simply, “the
 8   draft compact was just that, a draft.” Pauma Band of Luiseno Mission Indians v.
 9   California, No. 18-56457, 2020 WL 5225700, at *9 (9th Cir. Sept. 2, 2020).
10         Regardless, even the Governor’s signature would not have caused the
11   contingency fee to be owed to W&C, because the Governor’s signature is not nearly
12   the end of the compact approval process. Once signed, a compact must be ratified,
13   first by both houses of the California legislature, and then signed again by the
14   Governor. SUF ¶ 40. After this, the compact is then sent by the State to the U.S.
15   Department of the Interior for approval, and the notice of approval is then published in
16   the Federal Register. SUF ¶ 41. The compact would not have been operative—and
17   the Tribe would not have been “entitled” to any of the benefits it provided—until after
18   the completion of this process. See SUF ¶¶ 40-41. W&C was well aware of this, as
19   evidenced by its effort in June 2017 to convince the Tribe to hire a lobbyist to usher
20   the compact through the legislature. See Exs. 24, 25. W&C does not dispute this
21   legislative process and ratification requirement. See Williams Depo. Tr. (Ex. 40) at
22   194:3-12. The implied covenant claim therefore fails because there were no “benefits
23   due” or “already earned” by W&C when it was terminated. See Keshish, 959 F. Supp.
24   2d at 1233; Agosta, 120 Cal. App. 4th at 608; Guz, 24 Cal. 4th at 353 n.18.
25         California law on the recoverability of contingency fees where the underlying
26   contingency occurred after the end of the attorney-client relationship is in accord with
27   this result. Almost fifty years ago, the California Supreme Court made clear that “the
28   cause of action to recover compensation for services rendered under a contingent fee
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 1   contract does not accrue until the occurrence of the stated contingency.” Fracasse v.
 2   Brent, 6 Cal. 3d 784, 792 (1972). And as the Court of Appeal more recently put it:
 3   “No recovery, no fee, regardless of the work.” Jalai v. Root, 109 Cal. App. 4th 1768,
 4   1779 (2003). Echoing Section 11 of the Fee Agreement, “an attorney employed under
 5   a contingent fee contract and discharged prior to the occurrence of the contingency is
 6   limited to quantum meruit recovery for the reasonable value of services rendered up to
 7   the time of discharge, rather than the full amount of the agreed contingent fee.” Spires
 8   v. Am. Bus Lines, 158 Cal. App. 3d 211, 215-16 (1984) (citations omitted).
 9         W&C cannot use an implied-covenant theory to get a contingency fee based on
10   a result that did not occur until well after it was terminated.
11         C.     The Tribe Was Justified in Terminating W&C
12         W&C’s implied covenant claim also fails because there is no genuine dispute of
13   material fact that the Tribe’s termination of W&C was not done in bad faith. “A breach
14   of the implied covenant of good faith and fair dealing involves something beyond
15   breach of the contractual duty itself and it has been held that bad faith implies unfair
16   dealing rather than mistaken judgment.” Careau & Co. v. Sec. Pac. Bus. Credit, Inc.,
17   222 Cal. App. 3d 1371, 1394 (1990) (internal quotation marks and citations omitted).
18   In order to withstand summary judgment, W&C must present evidence demonstrating
19   the Tribe’s “failure or refusal to discharge contractual responsibilities, prompted not
20   by an honest mistake, bad judgment or negligence, but rather by a conscious and
21   deliberate act, which unfairly frustrates the agreed common purposes and disappoints
22   [W&C’s] reasonable expectations.” Id. at 1395. W&C cannot meet this high standard.
23         First, as discussed above, Section 11 of the Fee Agreement provides that the
24   Tribe could terminate W&C “at any time.” SUF ¶ 10.
25         Second, even in the absence of Section 11, California law allows a client to
26   terminate its attorney at its discretion, and therefore the Tribe’s conduct was justified.
27   Fracasse, 6 Cal. 3d at 790 (“[T]he client’s power to discharge an attorney, with or
28   without cause, is absolute.”).
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 1         Third, the undisputed evidence shows that the Tribe had more than a reasonable
 2   basis for terminating a firm that, in nine months, had attended three negotiation
 3   sessions and sent three draft compacts to the State despite being paid $400,000. See
 4   SUF ¶¶ 6, 14, 22, 25-27, 29-30.
 5         W&C has relied on a single line from the Tribe’s termination letter, in which
 6   President Escalanti
 7                                                                                            f
 8                See Ex. 30 at WC2950. But on its face, even if the language takes a strong
 9   tone, it does not support an inference that President Escalanti terminated W&C to
10   improperly avoid paying a contingency fee.          President Escalanti explained the
11   circumstances of the termination at the very outset of this litigation—he was
12   dissatisfied with W&C’s work. See SUF ¶ 33; Declaration of Keeny Escalanti, ECF
13   No. 29-2 (“Escalanti Decl.”) ¶¶ 4-7; Declaration of Mark William White II, ECF No.
14   29-3 (“White Decl.”) ¶¶ 4-7. That is a legally sufficient and justifiable basis for
15   terminating an attorney. Fracasse, 6 Cal. 3d at 790 (“[T]he client is justified in seeking
16   to dissolve that relation whenever he ceases to have absolute confidence in either the
17   integrity or the judgement or the capacity of the attorney”) (citations omitted). W&C
18   cannot now credibly dispute these facts and did not even try to do so during discovery.
19         Even though the Tribe first explained its termination of W&C through President
20   Escalanti and Councilman White’s declarations more than two and a half years ago,
21   W&C did not depose President Escalanti or Councilman White. In fact, W&C
22   noticed a handful of depositions—none of which included witnesses from the Tribe—
23   but then cancelled every single one of them W&C has had years to challenge President
24   Escalanti’s and Councilman White’s declarations, and has failed to do so.
25         This should be dispositive of W&C’s implied covenant claim. In the insurance
26   context—by far the most frequent application of the implied covenant of good faith
27   and fair dealing—summary judgment is appropriate “when it is undisputed or
28   indisputable that the basis for the insurer’s denial of benefits was reasonable—for
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 1   example, where even under the plaintiff’s version of the facts there is a genuine issue
 2   as to the insurer’s liability under California law.” Amadeo v. Principal Mut. Life Ins.
 3   Co., 290 F.3d 1152, 1161 (9th Cir. 2002). So too here: Under the undisputed facts,
 4   the Tribe had at least genuine questions regarding W&C’s performance, and its
 5   termination of W&C was therefore reasonable. Id.; see also Lunsford v. Am. Guar. &
 6   Liab. Ins. Co., 18 F.3d 653, 656 (9th Cir. 1994).
 7         D.     W&C Cannot Establish A Factual Basis For A Contingency Fee
 8         Finally, the plain language of the Fee Agreement and W&C’s contemporaneous
 9   admissions show it is not entitled to any contingency fee, under any legal theory. As
10   a result, there are no facts in dispute that would entitle W&C to damages based on the
11   contingency fee, and the Tribe is entitled to summary judgment. See, e.g., Hamadah
12   v. Sannoufi, 2018 WL 1407045, at *5 (C.D. Cal. Jan. 25, 2018) (“Summary judgment
13   is proper for a ‘failure to introduce any evidence of damages,’ where damages are an
14   essential element of the claim.”) (quoting Weinberg v. Whatcom Cnty., 241 F.3d 746,
15   752 (9th Cir. 2001)). In fact, as explained infra in Section VII of this Memorandum,
16   the inverse is true:      Because the undisputed facts show that W&C made
17   misrepresentations about the contingency fee while it owed a fiduciary duty to the
18   Tribe, the Tribe is entitled to summary judgment against W&C on the Tribe’s breach
19   of fiduciary duty counterclaim.
20         Section 5 of the Fee Agreement governs the contingency fee:
21          [The] contingency fee will be a percentage of the “net recovery” . . . In
            the event Client’s matter is resolved via negotiation or settlement, the term
22
            “net recovery” shall include any credit, offset or other reduction in future
23          compact payments to the State in a successor compact (whether new or
            amended) as a result of the excess payments made under [the 2006
24
            Amendment] . . . . Whether resolved through negotiation, settlement, or
25          legal action, the contingency percentages set forth in the schedules below
            shall be calculated by totaling the amounts Client receives – both
26
            monetary and/or as a credit, offset, or other reduction in future compact
27          payments – for the excess payments it made under [the 2006
            Amendment].
28

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 1   Thus, the Fee Agreement explicitly contemplates how the contingency fee is derived:
 2   by taking a percentage of compensation the Tribe receives from the State that is
 3   attributable to any “excess payments” made by the Tribe under the 2006 Amendment.
 4         Section 5’s distinction between savings that constitute a specific “net recovery”
 5   for “excess payments” under Section 5, on one hand, and a potential decrease in future
 6   payments to the State resulting from the renegotiation of compact terms, on the other,
 7   is not in dispute. In an email from Ms. Williams to the Tribal Council shortly before
 8   the Fee Agreement was executed, she wrote,
 9

10

11

12                                         See SUF ¶ 9 (emphasis added).
13         W&C reiterated
14                                                                               See Ex. 18
15   at WC0015 (April 14, 2017 email from Ms. Williams stating that
16

17

18                             ); Ex. 23 at WC0017 (June 9, 2017 email from Ms. Williams
19   to casino CEO Charles Montague).        In deposition, both Ms. Williams and Mr.
20   Cochrane repeatedly
21                 See Cochrane Depo. Tr. (Ex. 39) at 197:5-8, 269:6-8, 271:1-4, 300:15-
22   301:10; Williams Depo. Tr. (Ex. 40) at 183:15-184:13, 202:8-21. Accordingly, W&C
23   cannot explain away its own repeated admissions, in writing, that
24

25

26                                                           . SUF ¶ 9.
27         Here, the State offered the revised terms that resulted in the 2017 Compact’s
28   substantial savings in the very first draft it sent to W&C in December 2016. See SUF
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 1   ¶¶ 15-17; Ex. 10 (December 2016 Draft). Specifically, the State offered to reduce the
 2   Tribe’s SDF payments from 10% of the Tribe’s net win under the 2006 Amendment to
 3   a pro rata share of the State’s regulatory budget. See Ex. 10 § 4.3
 4         This change in revenue sharing obligations was by no means a unique offer to
 5   the Tribe by the State. To the contrary, the new SDF provision—§ 4.3— was extended
 6   to other Tribes at the time, and since. See SUF ¶18; Ex. 12 at DOJ01204 (January 3,
 7   2017 letter from Joginder Dhillon to President Jackson, citing recent compacts with
 8   similar terms); SUF ¶ 20; see also Dhillon Depo. Tr. (Ex. 37) at 72:14-22. Indeed,
 9   W&C’s own expert witness concedes that the State was offering this type of SDF
10   payment structure to tribes “as a matter of course.” Forman Depo. Tr. (Ex. 43) at
11   109:18-110:14. In fact, each of the publicly-available new class III gaming compacts
12   executed between tribes and the State since January 1, 2016 have substantively
13   identical SDF payment structures, each based on a pro rata share of the State’s
14   regulatory budget. See SUF ¶ 20; see also Request for Judicial Notice (“RJN”). The
15   State was transparent on this point with W&C during its negotiation. Shortly after
16   sending W&C the December 2016 Draft compact, it provided W&C with comparable
17   terms it had recently offered to other tribes. See SUF ¶ 18. The reduction in revenue
18   sharing obligations the State offered in December 2016 in its very first draft was
19   therefore what Ms. Williams told the Tribe
20                                                                                     See
21   SUF ¶ 9. The contingency fee provision, by W&C’s own admission, does not apply.
22         The analysis can end there. But the undisputed facts also show that, far from
23   acknowledging any excess payments by the Tribe, the State was pursuing over $4
24   million in underpayments from the Tribe due under the 2006 Amendment while W&C
25   was attempting to negotiate the new compact.         See Ex. 15 at QUECHAN-WC-
26   00006199-201; Ex. 21 at QUECHAN-WC-00003443-46. As late as May 2017—a
27   month before W&C was terminated—W&C wrote to the Tribe expressing its concern
28   that the State may pursue litigation against the Tribe due to the Tribe’s underpayment
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 1   of amounts owed to the State. See SUF ¶ 28; Ex. 21 at QUECHAN-WC-00003446.
 2   And it is undisputed that the Tribe ultimately agreed to pay the State $2 million to
 3   resolve this underpayment dispute. SUF ¶ 39.
 4         There are no facts on which W&C can claim a contingency fee based on
 5   compensation for “excess payments” under Section 5. W&C’s principals’ decision to
 6   refuse to testify about the subject in their depositions further cements the conclusion
 7   that W&C cannot prove contingency-fee damages. Summary judgment is warranted.
 8   VI.   W&C IS NOT ENTITLED TO AN ADDITIONAL “REASONABLE FEE”
 9         UNDER SECTION 11 OF THE FEE AGREEMENT
10         To prevail on a breach of contract claim, a plaintiff must show: “(1) the
11   contract, (2) plaintiff’s performance or excuse for nonperformance, (3) defendant’s
12   breach, and (4) the resulting damages to plaintiffs.” Orcilla v. Big Sur, Inc., 244 Cal.
13   App. 4th 982, 1004 (2016) (citing Careau, 222 Cal. App. 3d at 1388). To prevail on
14   a breach of contract claim under Section 11, W&C needs to establish that the Tribe
15   breached Section 11 by not paying an additional “reasonable fee,” and the amount of
16   that fee. W&C can do neither, despite three years of litigation and almost a year of
17   discovery, during which time W&C had repeated opportunities to identify or produce
18   evidence supporting its entitlement to an additional reasonable fee pursuant to the
19   factors set forth in Section 11. The Tribe is entitled to summary judgment.
20         A.     W&C’s Breach of Contract Damages Theory Cannot be Based on its
21                Contingency Fee Damages Theory
22         Section 11 of the Fee Agreement states that, in the event of a discharge before
23   the contingency fee attached, W&C could receive only a “reasonable fee for the legal
24   services provided in lieu of the contingency fee set forth in paragraph 5.” SUF ¶ 11.
25   Section 11 then specifies that any such fee would be calculated by evaluating a list of
26   ten factors. See id.
27         At every step in this litigation, W&C has failed to proffer even a basic theory of
28   damages “resulting” from the Tribe’s alleged breach. The only basis for damages
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 1   W&C has articulated throughout this litigation is based on the contingency fee—in its
 2   complaint, in written discovery, and in deposition. See FAC, ECF No. 220 ¶¶ 211, 217
 3   (requesting $6,345,399.97 for both claims); Plaintiff’s Amended Initial Disclosures
 4   (Ex. 34) at 4 (claiming $6,345,399.97 in “actual contract damages”); Williams Depo.
 5   Tr. (Ex. 40) at 187:16-23
 6       ; Ex. 10 to FAC, ECF No. 220-10. However, as noted above repeatedly, the Court
 7   has already dismissed a contingency fee theory of liability for W&C’s breach of
 8   contract claim. See ECF No. 89 at 15 (“Quechan’s failure to pay W&C the contingency
 9   fee envisioned in Section 5 of the fee agreement was not a breach of contract.”).
10         W&C’s inability to identify damages under Section 11 as distinct from Section
11   5 is fatal to its claim. That is because Section 11 expressly describes any reasonable
12   fee to be provided as “in lieu of” the contingency fee, and lists the factors on which
13   that separate fee is to be measured. See SUF ¶ 11. The common meaning of “in lieu
14   of” is “in place of” or “instead of.” Anaheim Union High Sch. Dist. v. Am. Fed. of
15   State, 222 Cal. App. 4th 887, 894 (2013). The Section 11 reasonable fee cannot be the
16   same thing as the Section 5 contingency fee, or else Section 11 would be superfluous.
17   See, e.g., Brandwein v. Butler, 218 Cal. App. 4th 1485, 1507 (2013) (“When
18   interpreting a contract, [courts] strive to interpret the parties’ agreement to give effect
19   to all of a contract’s terms, and to avoid interpretations that render any portion
20   superfluous, void or inexplicable.”). Any theory of damages under W&C’s breach of
21   contract claim must arise under the Section 11 factors, and cannot be calculated
22   pursuant to Section 5.
23         B.     W&C Has No Facts to Support An Additional Fee Under Section 11
24         W&C has already received “a reasonable fee for the legal services provided”—
25   $400,000. See infra VI.C; SUF ¶ 6. It is not entitled to any more, and W&C cannot
26   prove otherwise. As a result, its breach of contract claim fails. See Behnke v. State
27   Farm Gen. Ins. Co., 196 Cal. App. 4th 1443, 1468 (2011) (“Damages are an essential
28   element of a breach of contract claim.”).
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 1         Section 11 of the Fee Agreement lists the factors that dictate whether it is entitled
 2   to an additional fee “in lieu” of the contingency fee outlined in Section 5. SUF ¶ 45.
 3   Broadly speaking, they bear on the quality, quantity, and value of W&C’s work during
 4   its retention. Id. Through remarkable decisions W&C made prior to and during the
 5   litigation, W&C has precluded itself from being able to prove either its entitlement to
 6   a reasonable fee under Section 11 or what the amount of that fee would be. Because
 7   W&C cannot establish damages, summary judgment is appropriate. See Celotex Corp.
 8   v. Catrett, 477 U.S. 317, 322-23 (1986) (no “genuine issue of material fact” if
 9   nonmoving party “fails to make a showing sufficient to establish the existence of an
10   element essential to that party’s case”); Weinberg, 241 F.3d at 751 (summary judgment
11   appropriate when plaintiff cannot provide evidence on damages, leaving a jury to
12   speculation or guesswork).
13         First, the Fee Agreement states that any additional “reasonable fee” must
14   consider “the time and labor required.” SUF ¶ 45. But W&C did not keep time
15   records. See SUF ¶ 42. In deposition, Ms. Williams and Mr. Cochrane testified that
16

17                           . SUF ¶¶ 43, 44. This failure precludes W&C’s ability to prove
18   any amount of an additional “reasonable fee” under Section 11.
19         Second, in written discovery, W&C refused to provide a basis for its Section 11
20   damages calculation—which must include an evaluation of the relevant factors—or
21   provide the basis for its entitlement to a Section 11 fee. See, e.g., Ex. 36 at 12-14
22   (Request 7) (answering that the Fee Agreement “provides as it provides”); Ex. 35 at 8-
23   10 (Interrogatory 2) (directing Tribe only to Fee Agreement and assortment of letters
24   in support for entitlement to Section 11 fee); id. at 10-11 (Interrogatory 3) (similar).
25         Third, in their depositions, W&C’s principals
26                                 . For example, when asked at deposition
27

28                                                                                    See, e.g.,
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 1   Cochrane Depo. Tr. (Ex. 39) at 327:11-13
 2                                    , 330:5-8; Williams Depo. Tr. (Ex. 40) at 186:13-15
 3   (“There’s going to be a carte blanche instruction when it comes to asking for beliefs or
 4   perceptions or what have you.”), 191:18-192:1. Astonishingly, W&C’s principals even
 5   testified at deposition that any evidence regarding the Section 11 factors was
 6   irrelevant. See Cochrane Depo. Tr. (Ex. 39) at 224:24-25
 7                                                                       . When asked about
 8

 9                                                               See, e.g., id. at 326:9-13. A
10   non-moving party cannot rely on “pleadings themselves” to avoid summary judgment.
11   Celotex, 477 U.S. at 324. And whether or not W&C’s privilege assertions are
12   legitimate—the fact that W&C waived any work product protection during discovery
13   (see ECF No. 271-1 at 1) suggests they are not—they preclude W&C from now relying
14   on evidence, including testimony, it refused to produce.3
15         W&C has disclaimed the relevance of the only contractual damages theory
16   available to it, and claimed privilege over the potentially relevant facts. Summary
17   judgment on W&C’s Section 11 claim is therefore appropriate. See, e.g., Weinberg,
18   241 F.3d at 751 (“Because [plaintiff] failed to offer competent evidence of damages,
19   dismissal on summary judgment was appropriate.”).
20

21

22

23   3
      See, e.g., Garneau v. City of Seattle, 147 F.3d 802, 807-08 (9th Cir. 1998) (granting
     summary judgment after plaintiff “refused to produce evidence regarding” essential
24   element of claim); Planned Parenthood Fed’n. of Am., Inc. v. Ctr. For Med. Progress,
25
     402 F. Supp. 3d 615, 721 (N.D. Cal. 2019) (barring party from introducing damages
     evidence because he “shut down questioning at his deposition on the basis of
26   privilege”); Hasbro, Inc. v. Sweetpea Entm’t, Inc., 2014 WL 12561624, at *2 (C.D.
     Cal. Mar. 18, 2014) (barring damages evidence because plaintiff’s principal “raised the
27   shield of attorney-client privilege in order to refuse to testify about such damages
     during his deposition”); Ford v. City of Los Angeles, 47 Cal. App. 5th 227, 286 (2020)
28   (“[T]he law does not permit a party to use [] privilege as both a shield and a sword.”).
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 1         C.     The Tribe Has Already Paid W&C a Reasonable Fee for the Legal
 2                Services it Provided
 3         The amount of any “reasonable fee for the legal services provided” under
 4   Section 11 must take into account the money paid to W&C under Section 4. See SUF
 5   ¶¶ 11, 45. Pursuant to Section 4, the Tribe already paid W&C $400,000 during its
 6   representation. SUF ¶¶ 5-6. Any evaluation of damages under Section 11 must take
 7   into account the “amount of the fee” already paid. SUF ¶ 45. The question is whether
 8   an additional fee is required to compensate W&C for the “legal services provided.”4
 9         The reasonable fee contemplated in Section 11 is directly analogous to the
10   quantum meruit theory of recovery discussed in Fracasse and its progeny—both ensure
11   attorneys discharged prior to completion of the representation are fairly compensated
12   for services rendered pre-discharge. See Fracasse, 6 Cal. 3d at 786, 791. W&C was
13   fairly compensated, and it cannot proffer facts to dispute this conclusion.
14         The “most useful starting point for determining the amount of a reasonable fee
15   is the number of hours reasonably expended on the litigation multiplied by a reasonable
16   hourly rate.” Mardirossian & Associates, Inc. v. Ersoff, 153 Cal. App. 4th 257, 272
17   (2007) (citations omitted). As explained above, however, W&C cannot produce
18   evidence proving the number of hours expended on the Tribe’s compact negotiations,
19   and neither Ms. Williams nor Mr. Cochrane
20        . SUF ¶¶ 42-44.
21         Moreover, W&C originally
22                                                                                    . See
23   Ex. 3 at WC5423. Using W&C’s own valuation of its work as a barometer, it would
24   have had to bill 1,142.8 hours to incur a $400,000 fee. And “[t]he record does not
25   reflect that amount of work.” Ex. 41, Expert Report of Steven Hart at 14-15. W&C
26
     4
       Wapato Heritage, LLC v. United States, 637 F.3d 1033, 1039 (9th Cir. 2011) (“A
27   written contract must be read as a whole and every part interpreted with reference to
     the whole, with preference given to reasonable interpretations.”) (citations omitted);
28   Cal. Civ. Code § 1641 (“The whole of a contract is to be taken together . . . .”).
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 1   attended three negotiation sessions with the State and drafted three sets of minimal
 2   redlines on a compact initially drafted by the State. SUF ¶¶ 14, 22, 25-27, 29-30. It
 3   did not provide its first set of redlines to the State for four-and-a-half months after
 4   receiving the State’s initial draft compact. SUF ¶ 25. The undisputed facts show that
 5   W&C received more than ample compensation for the work it did, and W&C cannot
 6   put forth any evidence that could prove otherwise. Summary judgment is appropriate.
 7   VII. THE TRIBE IS ENTITLED TO SUMMARY JUDGMENT ON ITS
 8         BREACH OF FIDUCIARY DUTY COUNTERCLAIM
 9         The Tribe is also entitled to summary judgment on its counterclaim against
10   W&C for W&C’s breach of fiduciary duty. See Counterclaims, ECF No. 94 ¶¶ 56-63.
11         It is undisputed that W&C owed a fiduciary duty to the Tribe during its
12   representation of the Tribe, and, accordingly, that W&C owed the Tribe “a fiduciary
13   relation of the very highest character, [which] binds the attorney to most conscientious
14   fidelity.” Cal. Self-Insurers’ Sec. Fund v. Superior Court, 19 Cal. App. 5th 1065, 1071
15   (2018) (internal citations omitted). An attorney breaches its fiduciary duty where the
16   attorney inflates or otherwise misrepresents his or her fees to the client.5
17         As discussed above in Section V.D, there are no facts on which W&C can base
18   its contingency-fee claim. W&C’s contention that it is owed $6 million is a sham that
19   it started peddling to the Tribe during its representation, and continued asserting in this
20   litigation. This campaign to first trick, and now force, the Tribe into paying over $6
21   million dollars—on top of the $400,000 dollars the Tribe already paid W&C—for the
22   minimal work it did is a clear breach of the fiduciary duty W&C owed the Tribe.
23         Ms. Williams first assured the Tribe that
24

25
     5
       See, e.g., Bird, Marella, Boxer & Wolpert v. Superior Court, 106 Cal. App. 4th 419,
     430-31 (2003) (“This fiduciary duty requires fee agreements and billings ‘[to be] fair,
26   reasonable and fully explained to the client.’”) (quoting Severson & Werson v.
     Bolinger, 235 Cal. App. 3d 1569, 1572 (1991)) (emphasis added); see also Knight v.
27   Aqui, 966 F. Supp. 2d 989, 997 (N.D. Cal. 2013) (“An attorney who misapplies the law
     of attorney’s fees to the client’s financial detriment breaches the duty of care to the
28   client.”) (citing Schultz v. Harney, 27 Cal. App. 4th 1611, 1621 (1994)).
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 1

 2                                                 See SUF ¶ 9. But then right from the start,
 3   the State’s opening offer did just that: it provided the Tribe with the same reduction in
 4   revenue sharing obligations it had offered to other Tribes. See SUF ¶¶ 17, 18, 20.
 5   Because the State’s initial offer meant W&C would not be entitled to a contingency
 6   fee under its own explanation of Section 5, W&C reinterpreted the contingency fee to
 7   provide it with a windfall; such a reading is incompatible with the Fee Agreement, with
 8   the compact W&C was hired to negotiate, and with W&C’s fiduciary obligations to
 9   the Tribe.
10         W&C sought, and still seeks, to charge the Tribe 15% of $39,732,774. FAC,
11   ECF No. 220 ¶¶ 55, 207. W&C arrived at $39,732,774 in exactly the same way the
12   restitution award was calculated in Pauma—
13                                                                                           .
14   Compare Ex. 18 at WC0015
15                with Pauma, 813 F.3d at 1168-69. But this methodology has no basis in
16   the Fee Agreement. $39,732,774 is what the Tribe might have recovered if it obtained
17   a Pauma-theory recovery. But it is undisputed that never happened.
18         The Tribe never recovered any money from the State, and the reductions in the
19   amount the Tribe was to pay going forward in a new compact were never correlated to
20   any excess payments by the Tribe in any compact draft. Rather, as explained in Section
21   V.D, supra, the State was pursuing underpayments from the Tribe, which W&C noted
22   to the Tribe as late as May 2017, and which the Tribe ultimately resolved in the 2017
23   Compact. See SUF ¶ 39. It is therefore undisputed that the trigger for a contingency—
24   a “credit, offset, or other reduction in future compact payments . . . for the excess
25   payments [the Tribe] made under [the 2006 Amendment]”—never occurred; neither in
26   W&C’s final draft nor in the final, executed 2017 Compact. SUF ¶¶ 8, 32, 38.
27         Beyond this fundamental falsity in W&C’s contingency-fee theory, there is
28   another level of deception to W&C’s attempt to obtain this $6 million-plus fee from
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 1   the Tribe: the purported contingency fee is actually not contingent on anything.
 2   Regardless of the payment mechanisms in the compact, the contingency fee W&C was
 3   attempting to extract from the Tribe would remain the same. That is because, under
 4   the Pauma-calculation, W&C’s concocted fee amount was already fixed—
 5

 6                                                 . See SUF ¶ 46. Amounts that the Tribe
 7   would pay the State under a new compact were not even part of W&C’s contingency
 8   fee calculation. Instead, W&C—without any legitimate basis whatsoever—
 9

10                                                                      See id. As a result,
11   according to W&C, the Tribe owed W&C 15% of $39,732,774, regardless of how
12   much the Tribe would pay to the State under a new compact going forward. That is
13   not a contingency fee under any definition.
14         W&C’s statements to the Tribe were simply false, and an effort to trick the Tribe
15   into paying it more than $6 million dollars. This was nothing less than an outrageous
16   breach of an attorney’s fiduciary duty to its client. W&C misled the Tribe about the
17   Fee Agreement, while collecting $50,000 a month. The underlying facts are not in
18   dispute. Summary judgment on the Tribe’s fiduciary duty counterclaim is appropriate.
19   See Schultz, 27 Cal. App. 4th at 1621; Bird, Marella, 106 Cal. App. 4th at 430-31. The
20   Tribe is entitled to disgorgement and restitution of the $400,000 it paid to W&C
21   pursuant to the Fee Agreement,6 and the opportunity to pursue punitive damages.
22   VIII. CONCLUSION
23         For the foregoing reasons, the Tribe is entitled to summary judgment on both of
24   W&C’s remaining claims, and on its breach of fiduciary counterclaim against W&C.
25

26   6
      See Meister v. Mensinger, 230 Cal. App. 4th 381, 396 (2014) (“Where a breach of
27   fiduciary duty occurs, a variety of equitable remedies are available, including . . .
     rescission, and restitution, as well as incidental damages.”) (quoting Hicks v. Clayton,
28   67 Cal. App. 3d 251, 264 (1977)).
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 1   Dated: September 17, 2020        Respectfully submitted,
 2
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on September 17, 2020, I electronically filed the foregoing
 3   with the clerk of the court using the CM/ECF system which will send notification of
 4   such filing to the e-mail addresses denoted on the electronic Mail Notice List.
 5         I certify under penalty of perjury under the laws of the United States of
 6   America that the foregoing is true and correct.
 7         Executed on September 17, 2020 at Los Angeles, California.
 8

 9
                                                       /s/ Joshua A. Vittor
                                                       Joshua A. Vittor
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                                                              Case No. 17-cv-01436-GPC- (DEB)
                                                                        CERTIFICATE OF SERVICE
